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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.

IT IS SO ORDERED.




Dated: June 28, 2006


____________________________________________________________

                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

In re:                                        )    Chapter 11
                                              )
EAGLEPICHER HOLDINGS, INC., et al.,           )    Jointly Administered
                                              )    Case No. 05-12601
                  Debtors.                    )
                                              )    Judge J. Vincent Aug, Jr.
                                              )


               ORDER AUTHORIZING PRIVATE SALE OF ASSETS OF
                  DEBTOR EAGLEPICHER AUTOMOTIVE, INC.
                  TO HAIN CAPITAL HOLDINGS, LLC OUTSIDE
         THE ORDINARY COURSE OF BUSINESS PURSUANT TO 11 U.S.C. § 363
         AND FEDERAL RULES OF BANKRUPTCY PROCEDURE 2002 AND 6004

         This matter coming before the Court to be heard upon the Motion of Debtors for Order

Authorizing Private Sale of Assets of Debtor EaglePicher Automotive, Inc. to Hain Capital

Holdings, LLC Outside the Ordinary Course of Business Pursuant to 11 U.S.C. § 363 and

Federal Rules of Bankruptcy Procedure 2002 and 6004, dated June 6, 2006 [Docket No. 2132]

(the “Motion”); and the Court having determined that due and adequate notice of the Motion has

been given; and it appearing to the Court that, based upon the representations contained in the

Motion, and after consideration of any objections and responses filed with respect to the Motion,

the issuance of this Order is in the best interest of the Debtors, their estates and creditors; and
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after due deliberation and good and sufficient cause appearing therefore,


          IT IS HEREBY ORDERED THAT:

          1.       The Motion is GRANTED.
          2.       EP Automotive1 is authorized in accordance with Section 363 of the Bankruptcy
                   Code to sell the Claims to Hain outside the ordinary course of business.
          3.       This Court retains jurisdiction over all matters relating to the interpretation and
                   implementation of this Order.


          IT IS SO ORDERED.




SUBMITTED BY:

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ATTORNEYS FOR
DEBTORS AND DEBTORS IN POSSESSION


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1
      Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.
